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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



   CATHERINE MCKOY, MARKUS FRAZIER, and
   LYNN CHADWICK, individually and on behalf of all
   others similarly situated,

                          Plaintiffs,
                v.                                                   No. 1:18-cv-09936-LGS-SLC

   THE TRUMP CORPORATION, DONALD J. TRUMP,
   in his personal capacity, DONALD TRUMP, JR., ERIC
   TRUMP, and IVANKA TRUMP,

                          Defendants.


            DECLARATION OF CHRISTOPHER R. LE CONEY IN SUPPORT OF
             PLAINTIFFS’ MOTION TO EXCLUDE DR. PETERSON’S EXPERT
                     OPINIONS AND TO PRECLUDE DR. HAIR’S
                          SUPPLEMENTAL DECLARATION

I, Christopher R. Le Coney, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.       I am a member in good standing of the Bar of the State of New York and am admitted

to practice before this Court. I am associated with the firm Kaplan Hecker & Fink LLP, counsel for

Plaintiffs Catherine McKoy, Markus Frazier, and Lynn Chadwick (“Plaintiffs”) and the putative

classes. I respectfully submit this declaration in support of Plaintiffs’ Motion to Exclude Dr.

Peterson’s Expert Opinions and to Preclude Dr. Hair’s Supplemental Declaration.

       2.       Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the transcript

of the March 14, 2023 deposition of Defense Expert Dr. Robert A. Peterson.

       3.       Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the transcript

of the March 20, 2023 deposition of Defense Expert Dr. Joseph F. Hair.

       4.       Attached hereto as Exhibit 3 is a true and correct copy of the March 1, 2012 ACN

U.S. Compensation Plan Overview that was produced in this litigation with the Bates numbers

ACN000151-ACN000156.
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       5.       Attached hereto as Exhibit 4 is a true and correct copy of the 2012 ACN U.S.

Policies and Procedures that was produced in this litigation with the Bates numbers ACN000574-

ACN000586.

       I declare under penalty of perjury that the foregoing is true and correct.




 Dated: May 5, 2023                                         /s/ Christopher R. Le Coney
        New York, New York                                    Christopher R. Le Coney
